                                        Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 1 of 19


                                                                                            CIVIL COVER SHEET                                                                   \'l-Cu- 3Y\q
                     . cover sheet and the information contained herein neither reylace nor supplement the filing and service of pleadings or other papers as required by law, except as
                     Sal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
                   1tiating the civil docket sheet. (SEE INSTRUCTWNS UN ND.7 PAGE UF THlS FURM)

 I. (a) PLAINTIFFS                                                                                                           DEFENDANTS
 George Goodritz


     (b) County of Residence of First Listed
                                        (EXCEPT JN U.S. PLA/1




     (c) Attorneys (Firm Name, Address, and Telephone Numher)
                                                               Pl~




 Franklin J. Rooks Jr., Esq. and Jared A. Jacobson, Esq. Jacobson &
                                                                                '4   S&Sl                       -
                                                                                                                             C.ll'(inty of Residence of First Listed Defendant

                                                                                                                             NOTE:
                                                                                                                                                                                      ·0
                                                                                                                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                        IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.

                                                                                                                              Attorneys (If Known)                                        '    ~


 Rooks, LLC. 525 Rt. 73 N., Suite 104, Marlton, NJ 08053. (856)                                                                                                                          !\
 874-8999
 IT. BASIS OF JURISZ71CT
                       N (Pliu:ean "X"in011eBox011ly)                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                           "X" in One Box for Plaintiff
                                                                                                                         (For Diversity Cases Only)                                              and One Boxfor Defendant)
n    I   U.S. Govemmer1t                       ~ 3        deral Question                                                                          PTF              DEF                                           PTF       DEF
            Plaintiff                                     (U.S. Gm·ernment Not a ParlJ)                             Citizen of Thi' State         0 l              0 I      Incorporated or Principal Place       0 4      0 .t
                                                                                                                                                                              of Business In This State

 0 2     U.S. Government                       0 4     DiYersity                                                    Citizen of Another State           0 2         0    2   Incorporated and Principal Place           0       0 5
            Defendant                                    (Indicate Citizenship of Panies in Item Ill)                                                                          of Business In Another State

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 0 110 Insurance                                      PERSONAL INJURY                  PERSONAL INJURY              0 625 Drug Related Seizure               0 .+22 Appeal 28 USC 158              0 375 False Claims Act
 0 120 Marine                                0 310Ail]Jlane                          0 365Pcrsonallnjury -                ofPrope1ty21 USC881                0 423Withdrawal                       0 376QuiTam(31 USC
  D 130 Miller Act                           0 315 Ail]llane Product                        Product Liability       0 690 Other                                        28 USC 157                            3729(a))
  0 140 Negotiable Instrument                               Liability                0 367 Health Care/                                                                                             0   400 State Reapportionment
  0 150 Re<:overy of Ove'l'ayment 0 320 Assault, Libel &                                   Pharmaceutical                                                                                     ···"' 0   41 O Antitrust
          & Enforcement of Judgment                         Slander                        Personal Injury                                                   0 820 Copyrights                       0   430 Banks and Banking
  0 I 5 I Medicare Act                       0 330 Federal Employer..'                     Product Liability                                                 0 830 Patent                           0   450 Commerce
  0 152 Recovery of Defaulted                               Liability                0 368 Asbestos Personal                                                 0 835 Patent - Abbreviated            0    460 Deportation
          Student Loans                      0 340 Marine                                   Injury Product                                                         New Drng Application            0    470 Racketeer Influenced and
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  0 160 Stockholders' Suits                  0 355 Motor Vehicle                     0 371 Tmth in Lending                      Act                          0 862 Black Lung (923)                0    850 Securities/Commodities/
  D 190 Other Contract                                     Product Liability         0 380 Other Personal           0 720 Labor/Management                   0 863 DIWCIDTWW (405(g))                        Exchange
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  0 196 F ranehise                                         Injury                    0 385 Property Damage          0 740 Railway Labor Act                  0 865 RSI (405(g))                    0    891 Agricultural Acts
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 0 220 Foreclosure                           0 441 Voting                             0 463 Alien Detainee                     Income Security Act            or Defendant)                        0    899 Administrative Procedure
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           roceeding                   State Court                                  Appellate Court                 Reopened              Another District                          Litigation -                   Litigation -
                                                                                                                                               I specif}•)                          Transfer                       Direct File
                                                  Cite the U.S. Civil Statute under which yocc are filing (Do 1wt citejuri.<dictitmal ,·talute.> unless diversi(y):
VI CAUSE OF ACTION 142 U.S.C. 12101, et seq. Americans with Disabilities Act
     •                                            Bnef descnption of cause:
                                                   Title !II Public Accommodation Discrimination
VII. REQUESTED IN     0                                 CHECK IF THIS IS A CLASS ACTION                               DEMAND$                                            CHECK YES only if demand
     COMPLAINT:                                         UNDER RULE 23, F.R.Cv.P.                                                                                         JURY DEMAND:
VIII. RELATED CASE(S)
                                                      (See in.'ltructions):
      IFANV                                                                          JUDGE                                                                       DOCKET NUMBER
DATE                                                                                                                           CORD
07/27/2017
FOR OFFICE USE ONLY

    RECEIPT#                            AMOUNT                                              APPLY1NGl"1'P                                 JUDGE                                     MAG.JUDGE



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                             Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 2 of 19




Address of Defendant:                                    - •- ·         -                     •,   __ .                IJ'A'-."'-             I'         '      '    - .d -   .....,                  •

Place of Accident, hlcident or Transaction: I • l v      -.J      __,_,.....,,   Iv ,..., •        .J   r '--"-.JI     r         / • • "' v    ~ _I e • t <\        lt · ,       1     t   1   -



Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning I
  (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7. l(a))                                                                 YesD

Does this case invoh-e mnltidistrict litigation possibilities?                                                                                                 YesD
RELATED CASE, IF ANY:
Case Number:                                        Judge                                                              Date T e r m i n a t e d : - - - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this c01/rt9
                                                                                                                                                               YesD
2_ Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previous!
   action in this court?
                                                                                                                                YesD                                           No~
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one yea\ previously
   terminated action in this court?                                                                                                                            YesD           Nold"


4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

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CIVIL: (Place   Vin ONE CATEGORY ONLY)
A Federal Question Cases:                                                                                                   B. Diversizv Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                                          1. o Insurance Contract and Other Contracts
2. o FELA                                                                                                                   2. o Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                                             3. o Assault, Defamation
4. o Antitrust                                                                                                              4. o Marine Personal Injury
 5. o Patent                                                                                                                5.     D Motor Vehicle Personal Injury

 6. o Labor-Management Relations                                                                                            6. o Other Personal Injury (Please specify)
 7. o Civil Rights                                                                                                          7. o Products Liability
8. o Habeas Corpus                                                                                                          8. o Products Liability- Asbestos
           ecurities Act(s) Cases                                                                                           9. o All other Diversity Cases
      o SJcial Security Review Cases                                                                                                     (Please specify)

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                                                                    ARBITRATION CERTIFICATION
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      '• _, ·- ••. .,, , Vlc.eJ         lJ J      A.             , counsel of record do hereby certify:
   o Parsuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of

           icf other than moncta1y damages is sou(

            J-d-~·- d-of]                                                                                                                                    301 ~d-                               f'lt
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I certify that, to my knowledge, the within case is not        rela~w                               pending or within one year previously terminated action in this court
except as noted abo\-e.

DATE:     1-0--8d-o11                                                                                                                                          ]O°l ("{jJ- f IJ-
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             Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 3 of 19



  ~f\                         IN THE UNITED STATES DISTRICT COURT
  ll                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
Jli~ \&: .
,.· ~i                   CASE MANAGEMENT TRACK DESIGNATION FORM

         Gu.ts       t.,   f-ooOrJ2..
                            v.
                                                                              CIVIL ACTION


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In accordance with the C..fvil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § I :03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.        ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(t) Standard Management- Cases that do not fall into any one of the other tracks.



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Date                                   Attorney-at-law                   Attorney for
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Telephone                              FAX Number                        E-Mail Address



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                  Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 4 of 19




~               Franklin J. Rooks Jr., Esq.
                PA Attorney ID: 309562
                Jared A Jacobson, Esq.
    ~~A Attorney ID: 201382

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                Marlton, NJ 08053
                fjrooks@j acobsonrooks. com
                (856) 874-8999
                (856) 494-I 707fax                                    Attorneys for Plaintiff

                                IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

             GEORGE GOODRITZ                                   No.
                                                                                 lilfl          ~Ii   l ,
                                                Plaintiff,
                        v.

             PATRIOT PARKING, INC.
                                                                 COMPLAINT

                                                 Defendant

                                              PRELIMINARY STATEMENT

        George Goodritz (the "Plaintiff'), by and through his counsel, brings this lawsuit against

        Patriot Parking, Inc., seeking all available relief under the Americans with Disabilities Act

        for its failure to comply with the Act's accessibility requirements. Plaintiff is seeking

        injunctive relief requiring the Defendant to remove the accessibility barriers which

        exist at its parking facility.         The allegations contained herein are based on personal

        experience of the Plaintiff
        Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 5 of 19




                                    I.   JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

    ("ADA"), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

    conferred upon this District Court, pursuant to 28 U.S. C. § 1331.


                                   II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. § 1391(b).

                                 III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in Montgomery County,

   Pennsylvania.

6. Plaintiff is a disabled individual.

7. Patriot Parking, Inc., (the "Defendant") is a domestic corporation registered with the

   Pennsylvania Department of State under entity identification number 2546255.

8. Defendant has a business address of 2215 Walnut Street, Philadelphia, Pennsylvania

    19103.

                          IV.     STATEMENT OF FACTS

The Parking Facility

9. The Defendant operates a public parking garage located at 1305 Walnut Street,

   Philadelphia, Pennsylvania 19107 (the "Parking Facility").

10. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

   market rates.
        Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 6 of 19




11. The Parking Facility has approximately 450 parking spaces.

12. The Parking Facility is open 24 hours a day.

13. The Parking Facility does not have any handicap-accessible parking spaces for a car.

14. The Parking Facility does not have any handicap-accessible parking spaces for vans.

15. None of the parking spaces haw: any handicap-accessibility signs designating the

    parking spaces as being handicap accessible.

The P lainfr{f

16. The Plaintiff is a disabled individual within the meaning of the ADA

17. The Plaintiff has difficulty walking.

18. The Plaintiff possesses a handicapped parking placard issued by the Commonwealth of

   Pennsylvania.

19. The Plaintiffs handicapped parking placard permits his to park his vehicle in spaces

    designated as being handicap-accessible.

20. When the Plaintiff travels to Philadelphia, he is often unable to find parking on the

   streets.

21. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.

22. The Plaintiff is deterred from patronizing the Parking Facility because of its' lack of

   usable handicap-accessible parking places.

                   THE AMERICANS WITH DISABILITIES ACT

23. Congress enacted the Americans with Disabilities Act ("ADA") in 1990 with the

   purpose of providing "[a] clear and comprehensive national mandate forthe elimination

   of discrimination against individuals with disabilities" and "[c]lear, strong, consistent,
        Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 7 of 19




    enforceable    standards    addressing     discrimination     against    individuals    with

    disabilities." 42 U.S.C. § 1210l(b).

24. The ADA provides a private right of action for injunctive relief to "any person who is

    being subject to discrimination on the basis of disability." 42 U.S.C. § 12 l 88(a)(l ).

25. Under the ADA, a disability is defined as "(A) a physical or mental impairment that

    substantially limits one or more major life activities of such individual; (B) a record of

    such an impairment; or (C) being regarded as having such an impairment." 42 U.S.C.

   § 12102(1).

26. Title III of the ADA provides that "[n]o individual shall be discriminated against on

   the basis of disability in the full aPd equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation." 42 U.S.C. § 12182.

27. "It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals." 42 U.S.C. § 12182(b)(l)(A)(ii).

28. A "public accommodation" are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

29. In relevant part, Title III requires that the facilities of a public accommodation be

   "readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable." 42 U.S.C. § 12183(a)(l).
           Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 8 of 19




30. Discrimination under the ADA includes the failure to remove architectural barriers

       where such removal is easily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).

31. "Readily achievable" means easily accomplishable and able to be carried out without

      much difficulty or expense. 28 C.F.R. § 36.104.

32. Under Title III, places of public accommodation and commercial facilities that are

      newly constructed for occupancy beginning after January 26, 1992, must be "readily

      accessible to and usable by" individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

33. Facility" means all or any portion ofbuildings, structures, sites, complexes, equipment,

      rolling stock or other conveyances, roads, walks, passageways, parking lots, or other

      real or personal property, including the site where the building, property, structure, or

      equipment is located. 28 C.F.R. § 35.104.

34. Existing facilities whose construction predates January 26, 1992, must meet the lesser

      "barrier removal standard," which requires the removal of barriers wherever it is

      "easily accomplishable and able to be done without undue burden or expense." 28

      C.F.R. § 36.304(a).

35. March 15, 2012 was the compliance date for using the 2010 ADA Standards for

      program accessibility and barrier removal. 1

36. Under the ADA, businesses or privately owned facilities that provide goods or services

      to the public have a continuing obligation to remove accessibility barriers in existing

      parking lots when it is readily achievable to do so.




1
    https://www.ada.gov/2010ADAstandards_index.htm
         Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 9 of 19




Accessible Parking under the ADA

37. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

    requirements for handicap-accessible parking spaces: 2


    Total Number of Parking Spaces Provided                   Minimum Number of Required
              in Parking Facility                              Accessible Parking Spaces

                          1to25                                                 1
                         26 to 50                                              2
                                                                               ..,
                         51 to 75                                              .)


                        76 to 100                                            4
                       101 to 150                                            5
                       151to200                                              6
                       201 to 300                                            7
                       301 to 400                                            8
                       401 to 500                                            9
                                                            2% of the total number of parking
                      501to1000
                                                                           spaces
                                                          20, plus 1 for each 100 parking spaces
                    More than 1001
                                                                         over 1000

38. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36. 3

39. The width ofa parking space is measured from the center of each parking line bordering

    the parking space. 4 (See Exhibit A)

40. The ADA requires that there be an access isle for the handicap-accessible parking space

    that is at least 60 (sixty) inches wide. (See Exhibit A)




2 https://www.ada.gov/regs2010/20 lOADAStandards/20lOADAstandards.htm#pgfld-1010282
3 https:/lwww.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building· elements
4
  Id.
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41. The 2010 ADA regulations state that one in every six accessible spaces must be van

    accessible. 5

42. In parking facilities that do not serve a particular building, accessible parking shall be

    located on the shortest accessible route of travel to an accessible pedestrian entrance of

    the parking facility. 6

43. Creating designated accessible handicap spaces is just one example of a barrier

    removal. 28 C.F.R. § 36.304(b)(18).

44. The restriping/repainting of the parking space borders in relatively inexpensive, and

    should be readily achievable and easily accomplishable. 7

Valet Parking

45. The 1991 Standards of the ADA and the 2010 Standards of the ADA require parking

    facilities that provide valet parking services to have an accessible passenger loading

    zone. 8

46. The 2010 ADA Standards require that facilities which offer valet parking also provide

    accessible parking spaces. 9

47. Facilities with valet parking must have an accessible passenger loading zone that has

    an access aisle that is a minimum of 60 (sixty) inches wide and extends the full length

    of the vehicle pull-up space. (See Exhibit B)




5
  Id.
6 https ://www.access-board.govI guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4. 3
7
  https://www.ada.gov/restripe.pdf
8 https://www.ada.gov/regs201O/titleIII_201O/reg3_2010 _appendix_b .htm
9 https://www.ada.gov/regs2010/titleIIl_ 2010/reg3_2010 _appendix_b.htm
         Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 11 of 19




48. The 1991 ADA Standards and the 2010 ADA Standards both require a passenger

     loading zone to have a vehicle pull-up space that is a minimum of96 (ninety-six) inches

     wide and a minimum of 20 (twenty) feet in length. 10 (See Exhibit B)

49. The passenger loading zone must be located on an accessible route to the entrance of

     the facility. 11

Signage and the ADA

50. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities. 12

     (See Exhibit C)

51. Handicap-accessible parking spaces must be designed as "reserved" by a showing the

     ISA.

52. The ISA must be used to identify accessible passenger loading zones.

53. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

54. Parking space identification signs        ~hall   be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign. 13

                                               COUNT I-

     FAILURE TO PROVIDE HANDICAP-ACCESSIBLE PARKING SPACES

55. All preceding paragraphs are hereby incorporated by reference as if fully set forth

     herein.


10
   https://www.ada.gov/regs2010/titleIII_2010/reg3_2010 _appendix_b.htm
11
   https ://www.access-board.govI guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4. 6. 6
12 https: //www.access-board.govI guidelines-aild-standards/buildings-and-sites/about-the-ada-

standards/background/adaag#4. 1
13 https ://wwv1. access-board. govI guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-

standards/chapter-5-general-site-and-building-elements
       Case 2:17-cv-03419-JS Document 1 Filed 08/01/17 Page 12 of 19




56. The Parking Facility is a public accommodation as defined by ADA

57. The Parking Facility is subject to Title III of the ADA

58. The Plaintiff is a disabled individual within the meaning of the ADA

59. The United States Supreme Court recognized the term "major life activities" includes

   walking. Bragdon v. Abbott, 524 U.S. 624, 638-39 (1998).

60. The major life activity that the constitutes the Plaintiffs disability is his difficulty

   walking distances.

61. The Parking Facility is served by an elevator to reach each of its 5 levels.

62. The Parking Facility does not have any handicap-accessible parking spaces.

63. The Parking Facility does not have any handicap-accessible parking spaces near the

   elevator on each parking level.

64. The Defendant can remedy its non-compliance with the ADA's parking requirements

   providing handicap-accessible parking spaces for cars.

65. The Defendant can remedy its non-compliance with the ADA's parking requirements

   by providing a van-accessible handicap parking space for vans.


WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendant to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys' fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.
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                                       COUNT II-

FAILURE TO PROVIDE A HANDICAP-ACCESSIBLE PASSENGER LOADING
                  AREAS AND ACCESS LANES

66. All preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

67. In some instances, customers are required to leave their vehicle keys with the parking

   attendant so that the attendant can jockey vehicles within the Parking Facility to

   squeeze in and park as many vehicles as possible.

68. The Parking Facility does not have any marked accessible passenger loading zones.

69. The Parking Facility does not have a marked access aisle that is 60 (sixty) inches wide

   that is adjacent to the vehicle pull-up space for entry and/or exit of the vehicle when an

   attendant parks or retrieves a customer's vehicle.

70. The Parking Facility does not have a passenger loading zone with a vehicle pull-up

   space that is a minimum of 96 (ninety-six) inches wide and a minimum of20 (twenty)

   feet in length.

71. The Parking Facility's failure to comply with the parking accessibility requirements of

   the ADA has created an accessibility barrier for the Plaintiff, and other similarly

   situated disabled individuals.

72. The Defendant can remedy its non-compliance with the ADA's parking requirements

   by creating a marked accessible passenger loading zones.

73. Compliance with the ADA's parking requirements at the Parking Facility is readily

   achievable.

74. The Defendant's failure to comply with the AD A has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.
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WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendant to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys' fees

under as provided by 42 U.S.C. § 12U05, and such other legal and equitable relief from

Defendant as the Court deems just and proper.

                                         COUNT III-

      FAILURE TO COMPLY WITH THE SIGNAGE REQUIRMENTS UNDER
                           THE ADA


75. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

76. The Parking Facility does not have any handicap-accessible parking signs.

77. The Parking Facility does not have any van-accessible handicap-accessible parking

   signs.

78. The Defendant can remedy its non-compliance by installing handicap-accessible

   parking signs which identify the parking spaces reserved for disabled individuals.

79. The Defendant has discriminated against the Plaintiff by its failure to comply with the

   ADA handicap-accessible parking requirements.

WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendant to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys' fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.
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Respectfully submitted,-----
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Dated: July 28, 2017
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                                 CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I   s~rved   Plaintiffs Complaint via the Court's ECF

system.




By: FJR5566      ~
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                                             EXHIBIT A


(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/ guide-to the-ada-standards/chapter-5-parking#spaces)


                                                                     Access Ais.le (§502.3}
                                                        An access aisle at least 601' wide and at least
                                                        as long as the parking space is required on
                  Vehicle Spaces (§502.2)               either side of the parking space and must be
             Spaces must be marked to define            marked to discourage parking in 1t Two spaces
             the 96" minimum vvidth                     can share one aisle Access aisles cannot
                                                        overlap vehicular ways.




                              Surfaces (§502.4)
          Parking space.s and access aisles must meet requirements
          for floor and ground surfaces (§302) and cannot have
          changes in level other than slopes not exceeding 1:48.

                         Markings (§502.1, §502.2, §502.3.3}
    Both the parking space and access aisle must be marked The marking
    method and color is not specified in the Standards, but may be
    addressed by state or local codes or regulations. The width of spaces
    and aisles is measured to the centerline of markings (but it can include
    the full width of Jines where there is no adjacent parking space or aisles).
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                                            EXHIBITB

Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/ guide-to-the-ada-standards/chapter-5-passenger-loading-
zones
                                                                Access Aisle (§503.3)
                                                   A marked access a;sle is required ne:id to,
                                                   and at the same level as, the vehicle puff-up
               Vehicle Pull-Up Space (§503.2)      space. The access aisle must be at feast 60"
          The vehicle pull-up space must be at     wide,. e:idend the full length of the vehide pull-
          least 96" wide and at least 20' long.    up space, adjoin an accessible route, and
                                                   cannot overlap vehicular ways. The marking
                                                   method and color is not specified.




                    Surfaces (§503.4)                        Vertical Clearance (§503.5}
        Vehicfe pull-up spaces and access aisles    A vertical clearance of 114" is required at the
        must meet requirements for ground and       vehicle pull-up space and access aisle and
        floor surfaces (§302) and cannot have       along a vehicular route connecting them to a
        changes in level other than slopes not      vehicle entrance and exit.
        steeper than 1:48. Curb ramps cannot
        overlap access aisles or vehicle pull-up    Accessible passenger loading zones are not
        spaces.                                     required to be identified by the International
                                                    Symbol of Accessibility
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                        EXHIBITC




       Figure 38-22. International Symbol of
       Accessibility Parking Space Marking




                                                    I
                                          Height of symbol:
                                          Minimum = 28 inches
                                          Special = 41 inches




         ~I                     ~
                                          Width of symbol:
                                          Minimum = 24 inches
                                          Special = 36 inches
                    *Stroke width:
                      Minimum= 3 inches
                      Special= 4 inches
                Note: Blue background and
                      white border are optional
